           Case 17-04428-5-DMW                    Doc 1 Filed 09/08/17 Entered 09/08/17 11:47:17                                   Page 1 of 11

Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NORTH CAROLINA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                All Purpose Solutions, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  65 Glen Road, Box #112
                                  Garner, NC 27529
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Johnston                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
           Case 17-04428-5-DMW                         Doc 1 Filed 09/08/17 Entered 09/08/17 11:47:17                                         Page 2 of 11
Debtor    All Purpose Solutions, LLC                                                                   Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
          Case 17-04428-5-DMW                        Doc 1 Filed 09/08/17 Entered 09/08/17 11:47:17                                    Page 3 of 11
Debtor   All Purpose Solutions, LLC                                                                Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    All Purpose Solutions, LLC                                                               Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 8, 2017
                                                  MM / DD / YYYY


                             X   /s/ Kandie Spangler                                                      Kandie Spangler
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Managing Member




18. Signature of attorney    X   /s/ Jason L. Hendren                                                      Date September 8, 2017
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Jason L. Hendren
                                 Printed name

                                 Hendren, Redwine & Malone, PLLC
                                 Firm name

                                 4600 Marriott Drive
                                 Suite 150
                                 Raleigh, NC 27612
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (919) 420-7867                Email address      jhendren@hendrenmalone.com

                                 NC State Bar 26869
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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 Fill in this information to identify the case:
 Debtor name All Purpose Solutions, LLC
 United States Bankruptcy Court for the: EASTERN DISTRICT OF NORTH                                                                                    Check if this is an
                                                CAROLINA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 ACF Environmental                                               trade debt                                                                                               $49,549.26
 Attn: Managing
 Agent
 P.O. Box 758763
 Baltimore, MD 21275
 Anna Place, LLC                                                 trade debt                                                                                               $11,700.00
 Attn: Managing
 Agent
 P.O. Box 99475
 Raleigh, NC 27624
 ASC Construction                                                trade debt                                                                                               $13,219.05
 Equipment
 Attn: Managing
 Agent
 3561 Jones Sausage
 Road
 Garner, NC 27529
 Benchmark Tool                                                  trade debt                                                                                             $114,587.96
 Attn: Managing
 Agent
 533 Pylon Drive
 Raleigh, NC 27606
 Central Garden &                                                trade debt                                                                                               $14,514.10
 Pet
 Attn: Managing
 Agent
 P.O. Box 277743
 Atlanta, GA 30384
 Contech Engineered                                              trade debt                                                                                               $57,495.98
 Solutions
 Attn: Managing
 Agent
 16445 Collections
 Center Drive
 Chicago, IL 60693




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    All Purpose Solutions, LLC                                                                         Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 CP&P                                                            trade debt                                                                                               $12,361.88
 Attn: Managing
 Agent
 210 Stone Spring
 Road
 Harrisonburg, VA
 22801
 Ferguson                                                        trade debt                                                                                                 $9,058.60
 Waterworks
 Attn: Managing
 Agent
 P.O. Box 100286
 Atlanta, GA 30384
 Froehling &                                                     trade debt                                                                                                 $5,376.07
 Robertson, Inc.
 Attn: Managing
 Agent
 3015 Dumbarton
 Road
 Henrico, VA 23228
 Gaines Oil Company                                              trade debt                                                                                               $47,734.94
 Attn: Managing
 Agent
 P.O. Box 421
 Goldston, NC 27252
 GM Financial                                                    2016 GMC Sierra                                     $48,000.00                 $40,000.00                  $8,000.00
 Attn: Managing                                                  2500HD truck
 Agent                                                           VIN:
 P.O. Box 182344
 Arlington, TX 76096
 Green Resources                                                 trade debt                                                                                               $25,282.25
 Attn: Managing
 Agent
 P.O. Box 429
 Colfax, NC 27235
 Gregory Poole                                                   trade debt                                                                                               $12,488.22
 Attn: Managing
 Agent
 4807 Beryl Road
 Raleigh, NC 27606
 H&E Equipment                                                   trade debt                                                                                               $41,290.83
 Service
 Attn: Managing
 Agent
 P.O. Box 849850
 Dallas, TX 75284
 Herc Rentals, Inc.                                              trade debt                                                                                               $18,152.86
 Attn: Managing
 Agent
 P.O. Box 650280
 Dallas, TX 75265



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    All Purpose Solutions, LLC                                                                         Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Komatsu Financial                                               Komatsu                                            $140,000.00               $135,000.00                   $5,000.00
 LP                                                              PC210LC-10
 Attn: Managing                                                  hydraulic
 Agent                                                           excavator w/
 1701 W. Golf Road,                                              bucket
 Ste 1-300
 Rolling Meadows, IL                                             s/n A11150
 60008
 Langley Hauling                                                 trade debt                                                                                                 $6,921.41
 Attn: Managing
 Agent
 4393 South Halifax
 Road
 Rocky Mount, NC
 27803
 Renewable                                                       trade debt                                                                                               $23,500.00
 Resources, LLC
 Attn: Managing
 Agent
 P.O. Box 205
 Studley, VA 23162
 Vulcan Materials                                                trade debt                                                                                             $278,399.86
 Company
 Attn: Managing
 Agent
 353 Galestown Road
 Rockingham, NC
 28379
 Wake Stone                                                      trade debt                                                                                               $49,667.26
 Attn: Managing
 Agent
 P.O. Box 190
 Knightdale, NC
 27545




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                                                               United States Bankruptcy Court
                                                                     Eastern District of North Carolina
 In re      All Purpose Solutions, LLC                                                                      Case No.
                                                                                     Debtor(s)              Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Managing Member of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




 Date:       September 8, 2017                                            /s/ Kandie Spangler
                                                                          Kandie Spangler/Managing Member
                                                                          Signer/Title




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ACF Environmental                          CCS Equipment                       De Lage Landen Financial Service
Attn: Managing Agent                       Attn: Managing Agent                Attn: Managing Agent
P.O. Box 758763                            5428 Highway 96                     1111 Old Eagle School Road
Baltimore, MD 21275                        Youngsville, NC 27596               Wayne, PA 19087



Ally Financial                             Central Garden & Pet                Department of Treasury
Attn: Managing Agent                       Attn: Managing Agent                Financial Management Service
PO Box 380906                              P.O. Box 277743                     PO Box 1686
Minneapolis, MN 55438                      Atlanta, GA 30384                   Birmingham, AL 35201



Anna Place, LLC                            Chrysler                            Dept. of Employment Security
Attn: Managing Agent                       Attn: Managing Agent                Attn: Managing Agent
P.O. Box 99475                             P.O. Box 660335                     P.O. Box 25903
Raleigh, NC 27624                          Dallas, TX 75266                    Raleigh, NC 27611-5903



ASC Construction Equipment                 CHTD Company                        Diamler
Attn: Managing Agent                       Attn: Managing Agent                Attn: Managing Agent
3561 Jones Sausage Road                    P.O. Box 2576                       P.O. Box 5260
Garner, NC 27529                           Springfield, IL 62708               Carol Stream, IL 60197



Bankruptcy Administrator, EDNC             CIT Bank, N.A.                      ECN Financial, LLC
434 Fayetteville Street                    Attn: Managing Agent                Attn: Managing Agent
Suite 640                                  1021 Centurion Parkway N, Ste 100   655 Business Center Drive
Raleigh, NC 27601                          Jacksonville, FL 32256              Horsham, PA 19044



BB&T                                       Commercial Credit Group, Inc.       Eire Insurance
Attn: Jack Hayes                           Attn: Managing Agent                Attn: Managing Agent
P.O. Box 1847                              227 West Trade Street, Ste 1450     125 Edinburgh South
Wilson, NC 27894-1847                      Charlotte, NC 28202                 Cary, NC 27512



Benchmark Tool                             Contech Engineered Solutions        Element Financial Corp.
Attn: Managing Agent                       Attn: Managing Agent                Attn: Managing Agent
533 Pylon Drive                            16445 Collections Center Drive      655 Business Center Drive
Raleigh, NC 27606                          Chicago, IL 60693                   Horsham, PA 19044



BMO                                        Corporation Service Company         Ferguson Waterworks
Attn: Managing Agent                       Attn: Managing Agent                Attn: Managing Agent
300 East Carpenter Freeway                 801 Adlai Stevenson Drive           P.O. Box 100286
Irving, TX 75062                           Springfield, IL 62703               Atlanta, GA 30384



Caterpillar Financial Services Corp        CP&P                                Fleetmatics USA, LLC
Attn: Managing Agent                       Attn: Managing Agent                Attn: Managing Agent
2120 West End Avenue                       210 Stone Spring Road               P.O. Box 347472
Nashville, TN 37203-0986                   Harrisonburg, VA 22801              00015-2510
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Fora Financial                          Herc Rentals, Inc.                   Mobile Mini
Attn: Managing Agent                    Attn: Managing Agent                 Attn: Managing Agent
242 West 36th Avenue, 14th Floor        P.O. Box 650280                      4646 East Van Buren Street
New York, NY 10018                      Dallas, TX 75265                     Phoenix, AZ 85008



Ford Motor Credit Company, LLC          Internal Revenue Service             Navitas Lease Corp.
Attn: Managing Agent                    Centralized Insolvency Operations    Attn: Managing Agent
P.O. Box 680020                         P.O. Box 7346                        111 Executive Center Drive, Ste 10
Franklin, TN 37068                      Philadelphia, PA 19114-0326          Columbia, SC 29210



Froehling & Robertson, Inc.             Johnston County Tax Administration   NC Department of Revenue
Attn: Managing Agent                    Attn: Managing Agent                 Attn: Bankruptcy Department
3015 Dumbarton Road                     207 E. Johnston Street               P.O. Box 1168
Henrico, VA 23228                       Smithfield, NC 27577                 Raleigh, NC 27602-1168



Gaines Oil Company                      Kandie Spangler                      Ranger Engineering Consulting, Inc
Attn: Managing Agent                    1925 Freedom Road                    Attn: Managing Agent
P.O. Box 421                            Smithfield, NC 27577                 3111 N. Caden Court, Ste 180
Goldston, NC 27252                                                           Flagstaff, AZ 86004



Gelder & Associates, Inc.               Komatsu Financial LP                 Renewable Resources, LLC
Attn: Managing Agent                    Attn: Managing Agent                 Attn: Managing Agent
3901 Gelder Drive                       1701 W. Golf Road, Ste 1-300         P.O. Box 205
Raleigh, NC 27603                       Rolling Meadows, IL 60008            Studley, VA 23162



GM Financial                            Kubota Credit Corp., U.S.A.          Stearns Bank, N.A.
Attn: Managing Agent                    Attn: Managing Agent                 Attn: Managing Agent
P.O. Box 182344                         4400 Amon Carter Blvd., Ste 100      500 13th Street
Arlington, TX 76096                     Fort Worth, TX 76155                 Albany, MN 56307



Green Resources                         Langley Hauling                      U.S. Attorney
Attn: Managing Agent                    Attn: Managing Agent                 Attn: Civil Process Clerk
P.O. Box 429                            4393 South Halifax Road              310 New Bern Ave, Suite 800
Colfax, NC 27235                        Rocky Mount, NC 27803                Raleigh, NC 27601



Gregory Poole                           Linder Industrial Machinery          U.S. Attorney General
Attn: Managing Agent                    Attn: Managing Agent                 950 Pennslyvania Avenue NW
4807 Beryl Road                         1601 S Frontage Road                 Washington, DC 20530
Raleigh, NC 27606                       Plant City, FL 33563-2014



H&E Equipment Service                   MHC Financial                        United Rentals
Attn: Managing Agent                    Attn: Managing Agent                 Attn: Managing Agent
P.O. Box 849850                         6 Medical Park Dr, Ste 104           P.O. Box 100711
Dallas, TX 75284                        Pomona, NY 10970                     Atlanta, GA 30384
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Vulcan Materials Company
Attn: Managing Agent
353 Galestown Road
Rockingham, NC 28379



Wake Stone
Attn: Managing Agent
P.O. Box 190
Knightdale, NC 27545



Wayne K. Maiorano
P.O. Box 2611
Raleigh, NC 27602




Wells Fargo Equipment Finance, Inc.
Attn: Managing Agent
733 Marquette Ave, Suite 700
Minneapolis, MN 55402



Zackery Michael, Inc.
Attn: Managing Agent
6030 Creedmoor Road
Raleigh, NC 27612
